                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

      Plaintiff,

      v.                                                 Case No. 25-CR-0089-LA

HANNAH C. DUGAN,

      Defendant.


                   DEFENDANT’S MOTION FOR LEAVE TO FILE
                         OVERSIZED MEMORANDUM


      Defendant Judge Dugan retroactively moves the Court for an order allowing

her to file an oversized memorandum in support of her motion to dismiss. CIVIL L.R.

7(f); see ECF Nos. 15 (motion to dismiss) and 21 (supporting memorandum).

      The Court’s Pretrial Order set a 30-page limit for memoranda supporting

pretrial motions by incorporating CIVIL L.R. 7(f). Dugan’s counsel, who wrote the

memorandum supporting her motion to dismiss, failed to see this portion of the

Court’s order. They were not the same lawyers who appeared for her at the

arraignment, though they nevertheless should have seen the Court’s order.

      Judge Dugan respectfully requests that the Court retroactively grant her leave

to file an oversized memorandum. The memorandum, excluding the caption and

signature block, is about 35 pages. Fortunately, the government was able to address

all of the memorandum’s arguments in its response brief. ECF No. 28 at 3, n.1.
      The extra five pages are necessary here because of the novelty and importance

of the issues raised in the motion, judicial immunity, the Tenth Amendment, and

constitutional avoidance. As both parties have observed, there are very few federal

prosecutions of state court judges. Full argument requires a survey of the common

law, state court cases, out-of-circuit cases, and Supreme Court cases involving other

types of official immunity, like civil judicial immunity and presidential immunity.

      In the alternative, Judge Dugan requests that the Court accept the attached 29-

page version of Defendant’s Memorandum Supporting Motion to Dismiss, which is

in compliance with CIVIL L.R. 7(f) and GENERAL L.R. 5(a)(6). The attached version is

the same as the originally filed version (ECF No. 21), except the body of the

document is in 12-point Times New Roman font (instead of 13-point Book Antiqua).

      Judge Dugan will not be filing a memorandum in support of this motion.

Counsel assures the Court that the reply brief will not exceed the 15-page limit.

      Dated at Madison, Wisconsin, June 11, 2025.

                                              Respectfully submitted,

                                              HON. HANNAH C. DUGAN, Defendant

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